            Case 6:17-bk-10928-WJ                    Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38                  Desc
                                                     Main Document     Page 1 of 19



               1 Lynda T Bui, Trustee
                 3550 Vine Street, Ste. 210
               2 Riverside, CA 92507
                 Telephone: (949) 340-3400
               3 Facsimile: (949) 340-3000
                 Email: Trustee.Bui@shbllp.com
               4

               5 Chapter 7 Trustee

               6

               7
                                                       UNITED STATES BANKRUPTCY COURT
               8
                                        CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION
               9

             10
                      In re                                                         Case No. 6:17-bk-10928-WJ
             11
                      PEGGY IRENE CLELLAND                                          Chapter 7
             12       aka Peggy Irene Casey, and
                      JOEL DOUGLAS CLELLAND                                         CHAPTER 7 TRUSTEE’S MOTION TO
             13       aka Joel Clelland,                                            APPROVE COMPROMISE UNDER RULE
                                                                                    9019 BETWEEN THE BANKRUPTCY
             14       Debtors.                                                      ESTATE AND THE DEBTORS;
                                                                                    MEMORANDUM OF POINTS AND
             15                                                                     AUTHORITIES; AND DECLARATION OF
                                                                                    LYNDA T. BUI IN SUPPORT THEREOF
             16
                                                                                    [No Hearing Required LBR 9013-1(o)]
             17                                                                     [Notice of Motion filed concurrently herewith]

             18
             19 TO THE HONORABLE WAYNE E. JOHNSON, UNITED STATES BANKRUPTCY

             20 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND OTHER PARTIES-IN-

             21 INTEREST:

             22                Lynda T. Bui, solely in her capacity as the Chapter 7 Trustee (“Trustee”) for the
             23 bankruptcy estate (“Estate”) of Peggy Irene Clelland and Joel Douglas Clelland (“Debtors”),

             24 brings this Motion to Approve Compromise Under Rule 9019 Between the Bankruptcy

             25 Estate and the Debtors (“Compromise Motion”), and respectfully represents as follows:

             26

             27

             28
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                     1
                      23018-000\56\Compromise Mtn TC Clelland (split proceeds of short sale)
            Case 6:17-bk-10928-WJ                    Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38                  Desc
                                                     Main Document     Page 2 of 19



               1                                                     I.        BACKGROUND

               2 A.            The Bankruptcy Case

               3               The Debtors filed a chapter 7 bankruptcy petition on February 7, 2017, in the United

               4 States Bankruptcy Court, Central District of California, Case No. 6:17-bk-10928-WJ.

               5               The last date to file claims in the case was August 14, 2017. Government claims

               6 were due by August 7, 2017. The Court’s Claims Register indicates there have been nine

               7 claims filed totaling $43,880.14, consisting of $506.71 in priority claims and $43,373.43 in

               8 general unsecured claims.

               9 B.            The Property

             10                Property of the Estate includes the Debtors’ interest in the real property located at

             11 1339 Alta Avenue, Upland, California 91786 (“Property”).

             12                On their Schedule A, the Debtors valued their interest in the Property at $413,306.00

             13 and listed two liens on their Schedule D in favor of (i) Cenlar (first trust deed) in the amount

             14 of $265,390.00 and (ii) Specialized Loan Servicing, LLC in the amount of $122,323.00, for

             15 total liens of $387,713.00 (collectively the “Secured Creditors”). On their Schedule C, the

             16 Debtors claimed an exemption in the Property of $25,593.00 under C.C.P. § 703.140(b)(1).

             17 Based on the Schedules there does not appear to be equity in the Property for the benefit

             18 of the Estate.
             19                The Court has ordered Secured Creditors’ relief from the automatic stay in this

             20 case. 1 The Debtors have advised the Trustee that they do not want a foreclosure on their

             21 record and would like the Trustee to short sell the Property.

             22

             23
                      1   On March 29, 2018, the Court entered an order (docket 39) granting Lakeview Loan Servicing, LLC (loan
             24 servicer for the current beneficiary of first trust deed on the Property) relief from automatic stay of 11 U.S.C.
                      § 362(a) to allow it to move forward with a foreclosure upon and to obtain possession of the Property in
             25 accordance with applicable non-bankruptcy law.

             26
                      On April 17, 2018, the Court entered an order (docket 44) granting Deutsche Bank National Trust Company,
             27 as Trustee, for IndyMac Home Equity Mortgage Loan Asset-backed Trust, Series 2006-H1 (current
                      beneficiary of the second trust deed on the Property) relief from automatic stay of 11 U.S.C. § 362(a) to allow
             28 it to move forward with a foreclosure upon and to obtain possession of the Property in accordance with
   Lynda T. Bui,      applicable non-bankruptcy law.
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                     2
                      23018-000\56\Compromise Mtn TC Clelland (split proceeds of short sale)
            Case 6:17-bk-10928-WJ                     Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38                Desc
                                                      Main Document     Page 3 of 19



               1                After reviewing potential options, the Trustee and the Debtors have determined it

               2 may be in the best interest of the Estate and its creditors to negotiate to obtain the Secured

               3 Creditors’ consent to a short sale of the Property that would provide for payment of all

               4 expenses associated with the short sale, including (i) payment of a 6% real estate

               5 brokerage commission and (ii) a meaningful carve-out to the Estate to be paid by the buyer

               6 at the close of escrow to provide for a meaningful distribution on allowed unsecured claims.

               7                                II.       RELIEF REQUESTED (THE SETTLEMENT)

               8                Through the Compromise Motion, the Trustee requests approval of a certain

               9 Settlement Agreement, a true and correct copy of which is attached as Exhibit 1 to the

             10 Declaration of Lynda T. Bui. Under the Settlement Agreement, (i) the Debtors agree to

             11 cooperate with the Trustee's efforts to market the Property for a short sale and cooperate

             12 in the short sale process, (ii) the Trustee will file a Motion with the Bankruptcy Court to

             13 request approval of the short sale that provides payment of all expenses associated with

             14 the short sale, including payment of a standard real estate brokerage commission, and a

             15 payment to the Estate to provide for meaningful distribution on allowed unsecured claims,

             16 (iii) any “net proceeds”2 generated from the Trustee’s short sale of the Property shall be

             17 split as follows: 50% to the Estate (“Estate Settlement Amount”), and 50% to the Debtors

             18 (“Debtors’ Settlement Amount”), (iv) the Estate Settlement Amount shall be used by the
             19 Estate for payment of administrative claims of the Estate and allowed unsecured claims

             20 against the Estate, (v) the Trustee reserves the right to abandon the Property if the net

             21 proceeds decrease to such an amount that would make administrating the case cost-

             22 prohibitive, and (vi) as the Property is encumbered by liens that exceed its value and there

             23 is no equity, in exchange for the Debtors’ Settlement Amount, the Debtors agree to waive

             24 their claimed exemption in the Property of $25,593.00 under C.C.P. § 703.140(b)(1).

             25

             26

             27
                      2   The term “net proceeds” shall mean the gross proceeds generated from the sale of the Property, less (i)
             28 satisfaction of the Secured Creditors’ liens, including all arrearages; (ii) payment of all outstanding property
   Lynda T. Bui,      taxes; and (iii) typical pro-rations and closing costs, including escrow fees and real estate commissions.
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                     3
                      23018-000\56\Compromise Mtn TC Clelland (split proceeds of short sale)
            Case 6:17-bk-10928-WJ                    Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38    Desc
                                                     Main Document     Page 4 of 19



               1                                                III.      LEGAL AUTHORITIES

               2 A.            Upon Court Approval, a Trustee May Compromise a Claim of the Estate.

               3               The power of the Court to review and approve settlements is expressly recognized

               4 in Federal Rule of Bankruptcy Procedure, Rule 9019(a), which provides:

               5
                               On motion by the trustee and after notice and a hearing, the court may
               6               approve a compromise or settlement. Notice shall be given to creditors, the
                               United States trustee, the debtor, and indenture trustees as provided in Rule
               7               2002 and to any other entity as the court may direct.

               8               Thus, upon notice to the creditors, the United States Trustee, debtors, and indenture

               9 trustees, the Trustee may compromise a claim of the Estate.                   The approval of a

             10 compromise is a core proceeding under 28 U.S.C. §157(b)(2)(A) and (O). In re Carla

             11 Leather, Inc., 50 B.R. 764, 775 (S.D.N.Y. 1985).

             12 B.             The Court May Approve a Compromise Which is Fair and Equitable.

             13                The purpose of a compromise agreement is to allow the parties to avoid the

             14 expenses and burdens associated with litigation. Martin v. Kane (In re A & C Properties),

             15 784 F.2d 1377, 1380-81 (9th Cir. 1986), cert. denied sub nom, Martin v. Robinson, 479

             16 U.S. 854 (1986).                  The bankruptcy court has great latitude in approving compromise

             17 agreements as long as it finds that the compromise is fair and equitable. Id. at 1382; see

             18 also, Woodson v. Fireman’s Fund Ins. Co. (In re Woodson), 839 F.2d 610, 620 (9th Cir.
             19 1988). Generally, the benchmark in determining the propriety of a settlement is whether

             20 the settlement is in the best interests of the estate and its creditors.               In re Energy

             21 Cooperative, Inc., 886 F.2d 921, 927 (7th Cir. 1989). To be approved, the settlement need

             22 not represent the highest possible return to the estate, but merely must fall within the “range

             23 of reasonableness.” In re Walsh Construction, Inc., 669 F.2d 1325, 1328 (9th Cir. 1992).

             24 In making this determination, the bankruptcy court need not conduct a trial or even a “mini

             25 trial” on the merits. Id.

             26                In determining the fairness, reasonableness and adequacy of a proposed

             27 settlement, the Court must consider the following factors:

             28
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                     4
                      23018-000\56\Compromise Mtn TC Clelland (split proceeds of short sale)
            Case 6:17-bk-10928-WJ                    Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38   Desc
                                                     Main Document     Page 5 of 19



               1         (a) The probability of success in the litigation; (b) the difficulties, if any, to be
                         encountered in the matter of collection; (c) the complexity of the litigation
              2          involved, and the expense, inconvenience, and delay necessarily attending
                         it; (d) the paramount interests of the creditors and a proper deference to their
              3          reasonable views in the premises.
                A & C Properties, 784 F.2d at 1381; Woodson, 839 F.2d at 620. In other words, the Court
              4
                must weigh certain factors in order to determine whether the compromise is in the best
              5
                interests of the bankrupt estate. A & C Properties, 784 F.2d at 1382.
              6
                         The Trustee believes that based on the four factors under A&C Properties, the
              7
                proposed settlement is in the best interest of the Estate.
              8
                         1.        Probability of Success in Litigation.
              9
                         There is currently no litigation involved with regards to the Property so this factor is
             10
                not applicable.
             11
                         2.       Difficulties, if any, to be Encountered in the Matter of Collections.
             12
                         This factor is also not applicable. Without the Settlement Agreement, the Trustee
             13
                would not be administering the Property as it appears to be over-encumbered.
             14
                         3.        The Complexity of the Litigation Involved, Expense, Inconvenience and
             15
                                  Delay Necessarily Attending It.
             16
                         As indicated, there is no litigation involved and this factor is not
             17
                applicable. However, the upside of 50% of the net proceeds (or carve-out) from the short
             18
                sale of the Property far outweighs a little delay or inconvenience of marketing and selling
             19
                the Property. Further, the Trustee is still collecting on the insurance renewal residuals so
             20
                a little delay for the short sale only benefits the Estate.
             21
                         4.       The Paramount Interest of the Creditors and the Proper Deference to
             22
                                  the Reasonable Views.
             23
                         The Settlement Agreement should be approved because it will enhance the value
             24
                of the Estate and without it, the Estate may not receive anything from the short sale of the
             25
                Property. Through the Settlement Agreement, the Estate will receive 50% of the net
             26
                proceeds from the short sale. The funds received under the settlement can be used to
             27
                provide a meaningful distribution to unsecured claims. Otherwise, unsecured creditors will
             28
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                     5
                      23018-000\56\Compromise Mtn TC Clelland (split proceeds of short sale)
            Case 6:17-bk-10928-WJ                    Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38           Desc
                                                     Main Document     Page 6 of 19



               1 receive nothing from the short sale. Based on these reasons, this factor also weighs in

               2 favor of settling.

               3               In summary, the settlement reached is based on the Trustee’s good business

               4 judgment that will benefit the Estate and creditors and therefore approval of the

               5 Compromise Motion is proper.

               6                                                      IV.       CONCLUSION

               7               Based on the reasons set forth above, the Trustee respectfully request that the

               8 Court enter an order as follows:

               9               1.        Granting the Compromise Motion;

             10                2.        Approving the Settlement Agreement, a copy of which is attached as

             11 Exhibit 1 to the Bui Declaration;

             12                3.        Authorizing the Trustee to execute any necessary documents to carry out the

             13 provisions as contemplated in the Settlement Agreement; and

             14                4.        For such other and further relief as the Court deems just and proper.

             15

             16         Dated: August 21, 2018                                  /s/ Lynda T. Bui
                                                                       By:
             17                                                              Lynda T. Bui, Chapter 7 Trustee
             18
             19

             20

             21

             22

             23

             24

             25

             26

             27

             28
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                     6
                      23018-000\56\Compromise Mtn TC Clelland (split proceeds of short sale)
Case 6:17-bk-10928-WJ   Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38   Desc
                        Main Document     Page 7 of 19




                   DECLARATION
            Case 6:17-bk-10928-WJ                    Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38         Desc
                                                     Main Document     Page 8 of 19



               1                                            DECLARATION OF LYNDA T. BUI

               2               I, Lynda T. Bui, declare and state as follows:

               3               1. I am the Chapter 7 Trustee for the bankruptcy estate of In re Peggy Irene

               4 Clelland and Joel Douglas Clelland (“Debtors”). I have personal knowledge of the facts set

               5 forth herein and could, if called as a witness, competently testify thereto.

               6               2.      I am familiar with the Debtors’ bankruptcy proceeding and make this

               7 Declaration in support of my Motion to Approve Compromise Under Rule 9019 Between

               8 the Bankruptcy Estate and Debtors (“Compromise Motion”). I have read and I am aware

               9 of the contents of the Compromise Motion and the accompanying Memorandum of Points

             10 and Authorities. The facts stated in the Compromise Motion and the Points and Authorities

             11 are true to the best of my knowledge.

             12                3.      Through the Compromise Motion, I request approval of the Settlement

             13 Agreement between myself as the Trustee for the Estate and the Debtors, a true and

             14 correct copy is attached here as Exhibit 1.

             15                4.      Before agreeing to enter into the settlement that is the subject of this

             16 Compromise Motion, I reviewed the risks and benefits of litigating the disputes with the

             17 Debtors. I reviewed the benefits to the Estate which would result from the settlement.

             18 Specifically, I am still collecting on the insurance renewal residuals so there is no need to
             19 immediately close the case and in fact, the Estate can afford to proceed with the short sale.

             20 For the reasons stated in the Compromise Motion and the accompanying Points and

             21 Authorities, and based on my business judgment, I believe it is in the best interest of the

             22 Estate to enter into the Settlement Agreement.

             23                I declare under penalty of perjury pursuant to the laws of the United States of

             24 America that the foregoing is true and correct.

             25                EXECUTED on August 21, 2018, at Riverside, California.

             26
                                                                                          /s/ Lynda T. Bui
             27
                                                                                          Lynda T. Bui
             28
   Lynda T. Bui,
Chapter 7 Trustee
  3550 Vine Street
     Suite 210
Riverside, CA 92507
                                                                                     7
                      23018-000\56\Compromise Mtn TC Clelland (split proceeds of short sale)
    Case 6:17-bk-10928-WJ   Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38   Desc
                            Main Document     Page 9 of 19




                                  Exhibit 1

                     Settlement Agreement




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         Case 6:17-bk-10928-WJ                 Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38                Desc
                                               Main Document    Page 10 of 19

                                                  SETTLEMENT AGREEMENT

       This Settlement Agreement (“Agreement”) is entered into by and between Lynda T. Bui,
solely in her capacity as the Chapter 7 Trustee (“Trustee”) for the bankruptcy estate of Peggy
Irene Clelland and Joel Douglas Clelland (“Debtors”), on the one hand and the Debtors, on the
other hand. The Trustee and the Debtors will be collectively referred to herein as the “Parties”.
                                                          I.      RECITALS

            This Agreement is made by the Parties hereto with reference to the following facts:

       1.   The Debtors filed a chapter 7 bankruptcy petition on February 7, 2017, in the United
States Bankruptcy Court, Central District of California, Case No. 6:17-bk-10928-WJ.

      2.    Lynda T. Bui is the duly appointed, qualifying, and acting Chapter 7 trustee for the
Debtors’ Bankruptcy Estate (“Estate”).

        3.     The last date to file claims in the case was August 14, 2017. Government claims
were due by August 7, 2017. The Court’s Claims Register indicates there have been nine claims
filed totaling $43,880.14, consisting of $506.71 in priority claims and $43,373.43 in general
unsecured claims.

      4.     Property of the Estate includes the Debtors’ interest in the real property located at
1339 Alta Avenue, Upland, California 91786 (“Property”).

       5.    On their Schedule A, the Debtors valued their interest in the Property at $413,306.00
and listed two liens on their Schedule D in favor of (i) Cenlar (first trust deed) in the amount of
$265,390.00 and (ii) Specialized Loan Servicing, LLC in the amount of $122,323.00, for total liens
of $387,713.00 (collectively the “Secured Creditors”). On their Schedule C, the Debtors claimed
an exemption in the Property of $25,593.00 under C.C.P. § 703.140(b)(1). Based on the
Schedules there does not appear to be equity in the Property for the benefit of the Estate.

       6.     The Court has ordered Secured Creditors’ relief from the automatic stay in this case. 1
The Debtors have advised the Trustee that they do not want a foreclosure on their record and
would like the Trustee to short sell the Property.

       7.     After reviewing potential options, the Trustee and the Debtors have determined it
may be in the best interest of the Estate and its creditors to negotiate to obtain the Secured
Creditors’ consent to a short sale of the Property that would provide for payment of all expenses
associated with the short sale, including (i) payment of a 6% real estate brokerage commission



1   On March 29, 2018, the Court entered an order (docket 39) granting Lakeview Loan Servicing, LLC (loan servicer
for the current beneficiary of first trust deed on the Property) relief from automatic stay of 11 U.S.C. § 362(a) to allow
it to move forward with a foreclosure upon and to obtain possession of the Property in accordance with applicable
non-bankruptcy law.

On April 17, 2018, the Court entered an order (docket 44) granting Deutsche Bank National Trust Company, as
Trustee, for IndyMac Home Equity Mortgage Loan Asset-backed Trust, Series 2006-H1 (current beneficiary of the
second trust deed on the Property) relief from automatic stay of 11 U.S.C. § 362(a) to allow it to move forward with a
foreclosure upon and to obtain possession of the Property in accordance with applicable non-bankruptcy law.
                                                                   1
    Settlement Agreement TC Clelland (short sale proceeds).docx

                                                           Exhibit 1
    23018-000\EXP. 02
      Case 6:17-bk-10928-WJ                 Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38      Desc
                                            Main Document    Page 11 of 19

and (ii) a meaningful carve-out to the Estate to be paid by the buyer at the close of escrow to
provide for a meaningful distribution on allowed unsecured claims.

       8.    The Parties desire to resolve any and all disputes related to the administration of
the Property upon the terms and conditions set forth hereinafter.

                                                     II.       AGREEMENT

       NOW THEREFORE, FOR GOOD AND VALUABLE CONSIDERATION, the adequacy of
which is hereby acknowledged by each party hereto, and in consideration of the mutual promises
and covenants set forth below, the Parties hereto agree as follows:

         1.       Cooperation for the Sale of the Property.

                  a.        The Debtors agree to cooperate with the Trustee's efforts to market the
                            Property for a short sale and cooperate in the short sale process, including
                            providing information as necessary and cooperate with the Trustee's
                            proposed real estate broker team of (i) Gregory Shipp of Sentinel Real Estate
                            & Investments, and (ii) BK Global Real Estate Services (“Broker Team”).

                  b.        The Trustee will file a Motion with the Bankruptcy Court to request approval
                            of the short sale that provides payment of all expenses associated with the
                            short sale, including (i) payment of a standard real estate brokerage
                            commission to the Trustee's Broker Team and reimbursement of the Broker
                            Team’s out-of-pocket expenses, and (ii) a payment to the Estate to provide
                            for meaningful distribution on allowed unsecured claims. The Property will not
                            be sold unless the Estate receives funds to pay creditors.

                  c.        The Trustee will be listing the Property for sale in her capacity as the Chapter
                            7 trustee for the Estate, and not in her personal capacity, and no liability or
                            obligations shall accrue to her personally as a result of such listing.

                  d.        The Trustee reserves the right, in her sole discretion, to determine not to sell
                            the Property if doing so does not benefit the Estate.

        2.     Split of the Short Sale Proceeds. The Debtors and the Trustee agree that any “net
proceeds” generated from the Trustee’s short sale of the Property shall be split as follows: 50%
to the Estate (“Estate Settlement Amount”), and 50% to the Debtors (“Debtors’ Settlement
Amount”). As used herein, the term “net proceeds” shall mean the gross proceeds generated from
the sale of the Property, less (i) satisfaction of the Secured Creditors’ liens, including all arrearages;
(ii) payment of all outstanding property taxes; and (iii) typical pro-rations and closing costs,
including escrow fees and real estate commissions. The Debtors agree that the Estate Settlement
Amount shall be used by the Estate for payment of administrative claims of the Estate and allowed
unsecured claims against the Estate. The Trustee reserves the right to abandon the Property if
the net proceeds decrease to such an amount that would make administrating the case cost-
prohibitive.

       3.      Waiver of Exemption Claim. As the Property is encumbered by liens that exceed its
value and there is no equity, in exchange for the Debtors’ Settlement Amount, the Debtors agree
to waive their claimed exemption in the Property of $25,593.00 under C.C.P. § 703.140(b)(1). The
                                                 2
 Settlement Agreement TC Clelland (short sale proceeds).docx

                                                        Exhibit 1
 23018-000\EXP. 02
      Case 6:17-bk-10928-WJ                 Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38     Desc
                                            Main Document    Page 12 of 19

Debtors agree that they will not be entitled nor will they file amended schedules to claim an
exemption in the Property and/or the Estate’s Settlement Amount .

       4.    Possession of the Property. The Debtors are not making the mortgage payments.
The Trustee will not demand any mortgage or rental payment from the Debtors for allowing the
Debtors to reside in the Property since the Petition Date without paying the monthly payments on
the loans secured by deeds of trust on the Property. However, the Debtors shall continue to
maintain the Property and cooperate with the Trustee’s Broker Team for all showings and open
houses.

      5.     Additional Conditions to be Performed by the Debtors. Until such time that the
Trustee closes on the sale of the Property, the Debtors agree that they shall or shall cause to
maintain and preserve the Property for the benefit of the Estate and its creditors, and shall or shall
cause to:

                  a.        Not place or record, or allow to be placed or recorded, any liens or
                            encumbrances on the Property.

                  b.        Maintain current all insurance on the Property.

                  c.        Name the Trustee as the loss payee on insurance against the Property at no
                            cost to the Trustee or the Estate.

                  d.        Provide the Trustee with proof of insurance naming the Trustee as the loss
                            payee on insurance against the Property no later than ten (10) days after the
                            execution of this Agreement.

        6.   Motion for Approval of Compromise. Upon receipt of a fully executed copy of this
Agreement, the Trustee shall promptly file a motion with the Bankruptcy Court to obtain approval
of this Agreement (“Compromise Motion”). This Agreement is contingent upon and expressly
conditioned on the issuance of an order by the Bankruptcy Court in the Chapter 7 proceeding
approving this Agreement pursuant to Federal Rule of Bankruptcy Procedure 9019. Unless and
until approved by the Bankruptcy Court, this Agreement shall have no force or effect whatsoever.

       7.     Vacating the Property. The Debtors agree to deliver the Property in an unoccupied
broom clean condition, including removing all of their personal property, seven (7) days prior to
close of escrow.


                                 III.      REPRESENTATION AND WARRANTIES

     1.     Each of the parties to this Agreement represents, warrants, and agrees as to
themselves as follows:

                  a.        No party (nor any officer, agent, employee, representative, or attorney of or
                            for any party) has made any statement or representation to any other party
                            regarding any fact relied upon in entering into this Agreement, and each party
                            does not rely upon any statement, representation or promise of any other party
                            (or of any officer, agent, employee, representative, or attorney for the other

                                                               3
 Settlement Agreement TC Clelland (short sale proceeds).docx

                                                        Exhibit 1
 23018-000\EXP. 02
      Case 6:17-bk-10928-WJ                 Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38     Desc
                                            Main Document    Page 13 of 19

                            party), in executing this Agreement, or in making the settlement provided for
                            herein, except as expressly stated in this Agreement

                  b.        Each party to this Agreement has made such investigation of facts pertaining
                            to this settlement and this Agreement and of all the matters pertaining thereto
                            as they deem necessary.

                  c.        Each party has read this Agreement and understands its contents.

                  d.        The Parties acknowledge that they have either been represented in
                            negotiations for and in the preparation of this Agreement by counsel of their
                            choice or that they have had an opportunity to retain counsel and that they
                            have read this Agreement and have had an opportunity to have it fully
                            explained to them by such counsel, and that they are fully aware of the
                            contents of this Agreement and of its legal effect.

                  e.        The Parties acknowledge that this Agreement is the result of extensive good
                            faith negotiations between the Parties and their respective counsel and is not
                            to be construed as an admission of liability on the part of any of the Parties
                            hereto, their agents, employees or officers, by whom liability is expressly
                            denied.

                  f.        The Parties are bound by this Agreement subject only to Bankruptcy Court
                            approval and waive any right to object to approval by the Bankruptcy Court.

                                                 IV.       MISCELLANEOUS

       1.      Jurisdiction of the Bankruptcy Court. Should any dispute arise regarding this
Agreement, the United States Bankruptcy Court for the Central District of California, Riverside
Division shall have exclusive jurisdiction to determine the same.

       2.     Trustee Capacity. The Trustee is signing this Agreement in her capacity solely as
Chapter 7 Trustee of the Estate. Nothing contained herein shall in any way impute liability to the
Trustee, personally or as a member of any professional organization, or anyone acting on her
behalf, including but not limited to her counsel.

       3.     Further Documentation of Settlement. The Parties agree that they will execute any
and all further and additional documents and take all further and additional steps, which may be
necessary or convenient to consummate the terms of this Agreement and accomplish the purposes
thereof.

       4.      Entire Agreement. This Agreement constitutes the entire understanding and
agreement between the Parties hereto concerning the subject matter hereof and supersedes all
prior and contemporaneous agreements, understandings, terms, conditions and representations,
written or oral, made by any of the Parties hereto or their agents, concerning the matters covered
by this Agreement.

      5.      Modification and/or Amendment. This Agreement may be amended and modified
only by a written agreement signed by all of the Parties hereto specifically acknowledging and
approving of the modification.

                                                               4
 Settlement Agreement TC Clelland (short sale proceeds).docx

                                                        Exhibit 1
 23018-000\EXP. 02
      Case 6:17-bk-10928-WJ                 Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38   Desc
                                            Main Document    Page 14 of 19

       6.    Successors and Assigns. This Agreement shall inure to the benefit of, and shall be
binding upon the Parties, and each of them, and their respective successors, assigns, heirs,
partners, agents, interrogators, officers, corporations, partnerships, partners, shareholders,
representatives, and each of them.

       7.   Controlling Law. This Agreement has been entered into in the State of California and
this Agreement, including any rights, remedies, or obligations provided for hereunder, shall be
construed and enforced in accordance with the laws of the State of California.

      8.      Severability. If any provision of this Agreement is held, determined or adjudicated to
be invalid, unenforceable or void for any reason, each such provision shall be severed from the
remaining portions of this Agreement and shall not affect the validity and enforceability of such
remaining provisions.

      9.      Effect of Headings. The titles and headings of this Agreement are for convenience
and identification only, and shall not be deemed to limit, amplify, or define the contents of the
respective sections or paragraphs to which they pertain.

      10.    Gender. Whenever in this document the context may so require, the masculine
gender shall be deemed to include the feminine and neuter genders, and vice-versa.

         11.      Recitals. Each term of this Agreement is contractual and not merely a recital.

       12.    Counter-Parts. This Agreement may be executed in one or more counter-parts
(multiple signatures) each of which shall be deemed an original, and all of which constitute one
and the same instrument.

        13.    Attorneys' Fees. All Parties shall bear their own attorneys’ fees and costs. In the
event any claim, dispute and/or litigation arises out of this Agreement, the prevailing party shall be
entitled to recovery of its attorneys' fees and costs incurred in prosecuting or defending said claim,
dispute and/or litigation.

                                    SIGNATURES ON THE FOLLOWING PAGE




                                                               5
 Settlement Agreement TC Clelland (short sale proceeds).docx

                                                        Exhibit 1
 23018-000\EXP. 02
Case 6:17-bk-10928-WJ   Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38   Desc
                        Main Document    Page 15 of 19




                               Exhibit 1
Case 6:17-bk-10928-WJ   Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38   Desc
                        Main Document    Page 16 of 19




                               Exhibit 1
        Case 6:17-bk-10928-WJ                      Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38                                     Desc
                                                   Main Document    Page 17 of 19



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
100 Spectrum Center Drive, Suite 600, Irvine, CA 92618

A true and correct copy of the foregoing document entitled (specify): CHAPTER 7 TRUSTEE’S MOTION TO APPROVE
COMPROMISE UNDER RULE 9019 BETWEEN THE BANKRUPTCY ESTATE AND THE DEBTORS; MEMORANDUM
OF POINTS AND AUTHORITIES; AND DECLARATION OF LYNDA T. BUI IN SUPPORT THEREOF will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 21, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


    •   Lynda T. Bui (TR)            trustee.bui@shbllp.com, C115@ecfcbis.com Chapter 7 Trustee
    •   Tyneia Merritt tye@mlawinc.com, legal@mlawinc.com, Attorney for Deutsche Bank National Trust Company,
        as Trustee, for IndyMac Home Equity Mortgage Loan Asset-backed Trust, Series 2006-H1
    •   Christina J O          christinao@mclaw.org, CACD_ECF@mclaw.org Attorney for Lakeview Loan Servicing, LLC
    •   Valerie Smith           claims@recoverycorp.com NEF for Interested Party
    •   United States Trustee (RS)                ustpregion16.rs.ecf@usdoj.gov United States Trustee
    •   Julie J Villalobos julie@oaktreelaw.com, oakecfmail@gmail.com, villalobosjr51108@notify.bestcase.com
        Attorney for the Debtors
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) August 21, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  August 21, 2018                         Lorre Clapp                                            /s/ Lorre Clapp
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 6:17-bk-10928-WJ                      Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38                                     Desc
                                                   Main Document    Page 18 of 19



                                                        U.S. MAIL SERVICE LIST

 DEBTORS                                         COURT MAIL LIST                                    COURT MAIL LIST
 PEGGY IRENE CLELLAND                            EMPLOYMENT DEVELOPMENT DEPT.                       FRANCHISE TAX BOARD
 JOEL DOUGLAS CLELLAND                           BANKRUPTCY GROUP MIC 92E                           BANKRUPTCY SECTION MS: A-340
 1339 ALTA AVE                                   P.O. BOX 826880                                    P.O. BOX 2952
 UPLAND, CA 91786-2812                           SACRAMENTO, CA 94280-0001                          SACRAMENTO, CA 95812-2952
 COURT MAIL LIST                                 COURT MAIL LIST                                    COURT MAIL LIST
 HAHN FIFE & COMPANY                             CAPITAL ONE                                        CAPITAL ONE
 790 E COLORADO BLVD 9TH FL                      PO BOX 30285                                       ATTN: BANKRUPTCY
 PASADENA, CA 91101-2193                         SALT LAKE CITY UT 84130-0285                       PO BOX 30285
                                                                                                    SALT LAKE CITY, UT 84130-0285
 CLAIM FILED                                     COURT MAIL LIST                                    COURT MAIL LIST
 CAPITAL ONE BANK (USA), N.A.                    CENLAR                                             CREDIT ONE BANK NA
 PO BOX 71083                                    P.O.BOX 77404                                      PO BOX 98872
 CHARLOTTE, NC 28272-1083                        TRENTON, NJ 08628-6404                             LAS VEGAS, NV 89193-8872
 COURT MAIL LIST                                 CLAIM FILED                                        COURT MAIL LIST
 CREDIT ONE BANK NA                              INTERNAL REVENUE SERVICE                           LENDING CLUB CORP
 PO BOX 98873                                    P.O. BOX 7346                                      71 STEVENSON PL. STE # 300
 LAS VEGAS, NV 89193-8873                        PHILADELPHIA, PA 19101-7346                        SAN FRANCISCO, CA 94105-2985
 COURT MAIL LIST                                 COURT MAIL LIST                                    COURT MAIL LIST
 LENDING CLUB CORP                               MID AMERICA BANK & TRU                             NAVIENT
 71 STEVENSON ST                                 5109 S BROADBAND LN                                ATTN: CLAIMS DEPT
 SUITE 300                                       SIOUX FALLS, SD 57108-2208                         PO BOX 9500
 SAN FRANCISCO, CA 94105-2985                                                                       WILKES-BARR, PA 18773-9500
 COURT MAIL LIST                                 COURT MAIL LIST                                    COURT MAIL LIST
 NAVIENT                                         OCWEN LOAN SEVICING LLC                            PRA RECEIVABLES MANAGEMENT, LLC
 PO BOX 9500                                     1661 WORTHINGTON R                                 PO BOX 41021
 WILKES BARRE, PA 18773-9500                     WEST PALM BEAC, FL 33409-6493                      NORFOLK, VA 23541-1021
 CLAIM FILED                                     COURT MAIL LIST                                    COURT MAIL LIST
 PYOD, LLC ITS SUCCESSORS AND                    POWER SALES UNIVERSITY                             RISE CREDIT
 ASSIGNS AS ASSI                                 2901 WEST COAST HWY #200                           PO BOX 101808
 OF FNBM, LLC                                    NEWPORT BEACH, CA 92663-4045                       FORT WORTH, TX 76185-1808
 RESURGENT CAPITAL SERVICES
 PO BOX 19008
 GREENVILLE, SC 29602-9008
 COURT MAIL LIST                                 CLAIM FILED                                        COURT MAIL LIST
 SCHOOLS FIRST FCU                               SCHOOLS FIRST FCU                                  SPECIALIZED LOAN SERVI
 2115 N BROADWAY                                 PO BOX 11547                                       8742 LUCENT BLVD.#300
 SANTA ANA, CA 92706-2613                        SANTA ANA, CA 92711-1547                           HIGHLANDS RANCH, CO 80129-2386
 COURT MAIL LIST                                 COURT MAIL LIST                                    COURT MAIL LIST
 SPECIALIZED LOAN SERVI                          TARGET                                             TARGET
 ATTN: BANKRUPTCY                                C/O FINANCIAL & RETAIL SERVICES                    PO BOX 673
 8742 LUCENT BLVD. SUITE 300                     MAILSTOP BT PO BOX 9475                            MINNEAPOLIS, MN 55440-0673
 HIGHLANDS RANCH, CO 80129-2386                  MINNEAPOLIS, MN 55440-9475
 CLAIM FILED                                     BROKER                                             BROKER
 VERIZON                                         GREGORY SHIPP                                      PATRICK BUTLER
 BY AMERICAN INFOSOURCE LP AS                    SENTINEL REAL ESTATE & INVESTMENTS                 BK GLOBAL REAL ESTATE SERVICES
 AGENT                                           8780 19TH STREET, # 350                            1095 BROKEN SOUND PARKWAY, N.W., STE
 4515 N SANTA FE AVE                             RANCHO CUCAMONGA, CA 91701-4608                    100
 OKLAHOMA CITY, OK 73118-7901                                                                       BOCA RATON, FL 33487-3503
 RETURNED MAIL                                   NO ADDRESS                                         NO ADDRESS
                                                 COURT MAIL LIST                                    COURT MAIL LIST
                                                 SCHOOLSFIRST FCU                                   CENLAR FSB
 NO ADDRESS                                      NO ADDRESS                                         NO ADDRESS
 COURT MAIL LIST                                 COURT MAIL LIST                                    COURT MAIL LIST
 COURTESY NEF                                    DEUTSCHE BANK             NATIONAL      TRUST      LAKEVIEW LOAN SERVICING, LLC, AND ITS
                                                 COMPANY, AS TRU                                    SUCCES



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 6:17-bk-10928-WJ                      Doc 51 Filed 08/21/18 Entered 08/21/18 18:44:38                                     Desc
                                                   Main Document    Page 19 of 19


 NOT APPLICABLE
 COURT MAIL LIST
 RIVERSIDE DIVISION
 3420 TWELFTH STREET,
 RIVERSIDE, CA 92501-3819




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
